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Attorneys for Defendant

              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,               ) No. 3:18-cr-000319-JO-3
                                        )
                                        ) UNOPPOSED MOTION TO
            Plaintiff,                  ) CONTINUE SENTENCING
      vs.                               )
                                        )
TILER EVAN PRIBBERNOW,                  )
                                        )
                                        )
            Defendant.                  )

      Defendant Tiler Pribbernow, through counsel Kathleen Correll and

Matthew McHenry, moves the Court for an order continuing the current

sentencing date of December 13, 2019, for an additional 6 months, to a date

on or about June 13, 2020.
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      The government, through AUSA Leah Bolstad, does not object to this

motion.

      Defendant Pribbernow, who is in custody in the above-captioned case,

consents through undersigned counsel to this request for a continuance of the

current sentencing date.

      Respectfully Submitted this 19th day of November, 2019:

                           s/ Matthew G. McHenry
                           Matthew G. McHenry
                           Of Attorneys for Defendant Pribbernow




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